                                                       Chat History Metadata
                                                       This includes information about Chats you have sent and received.
                                                                                                                                                                                                        EXHIBIT F
                                                       Received Saved Chat History


                                                         From                                                                                 Media Type                                      Created
               Login History and Account Information

               Snap History Metadata

               Chat History Metadata

               My AI

               Our Story & Spotlight Content

               Spotlight Replies

               Purchase History

               Shop History

               Snapchat Support History

               User Profile

               Public Profiles

               Friends

               Ranking

               Story History

               Account History

               Location

               Search History

               Terms History

               Subscriptions

               Bitmoji

               In-app Surveys

               Reported Content

               Bitmoji Kit

               Connected Apps

               Talk History

               Ads Manager

               Snap Games and Minis

               My Lenses

               Memories

               Cameos

               Email Campaign History

               Snap Tokens

               Payouts

               Scans

               Orders

               Snap Map Places

               Snapcode Scan History

               Shopping Favorites

               Payments

               Shopping Preferences

               Frequently Asked Questions

               My Sounds

               Photoshoot Snaps

               Feature Emails




                                                         [Student]                                                                            TEXT                                            2022-11-27 14:43:58 UTC

                                                         She then said let’s just loop in Betsy on this just so she is aware in case there is some social turmoil, as in she came after [Student 2] and me in the future or said some stuff on social media. Title 9 helped us
                                                         loop her in and ask for her opinion to which she said we had done everything as we should have.


                                                         [Student]                                                                            TEXT                                            2022-11-27 14:42:52 UTC

                                                         Yeah, with what happened with me, I went to the title 9 office and the woman there helped me. [Student 2] and I took her advice and asked nationals for their advice (they said we were in the clear essentially
                                                         and they had our back). After we talked to the girl, we went back to the title 9 office to tell her what happened. She said that we did everything right and that our care with the situation would help you and all
                                                         of us.




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               [Jane Roe]                                               TEXT                      2021-10-15 23:42:36 UTC

               331!




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                                                                                                                            P000252
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               [Jane Roe]                         TEXT                           2021-10-09 21:42:31 UTC

               It’s [Birthdate]




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